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                             IJNITED STATES DISTRICT COURT
                             FOR TIIE DISTRICT OF DELAWARE




                                                      )
IN RE APPLICATION OF THE                              )
UNITED STATES OF AMERICA FOR                          )       MISC. NO. I8-
AN ORDER PURSUANT TO                                  )
l8 u.s.c. $ 3512                                      )
                                                      )
Request from the Republic ofGeorgia     for           )
Assistance in a Criminal Matter:                      )
I Love My Patriarch                                   )
                                                      )



                         APPLICATION OF THE UNITED STATES
                      FOR AN ORDER PURSUANT TO 18 U.S.C. $ 35I2

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to l8 U.S.C. $ 3512,

appointing the undersigned attomey, Jennifer K. Welsh, Assistant U.S. Attomey, Office of the

United States Attorney (or a substitute or successor subsequently designated by the Office ofthe

United States Attomey), as a commissioner to collect evidence from witnesses and to take such

other action as is necessary to execute a request for assistance in a criminal matter fiom the

Republic of Georgia ("Georgia"). In support ofthis application, the United States asserts:

                                       RELEVANT FACTS

       L       On May 16, 2017 , the Republic of Georgia submitted a request for assistance

(hereinafter, the Request) to the United States, pursuant to the United Nations Convention

Against Com-rption, opened for signature December 9-1 1, 2003, S. TREATY DOC. NO. 109-6

(2006) (hereinafter, the Treaty). As stated in the Request, the Office of the Chief Prosecutor   of
Georgia is investigating into the allegation ofmoney laundering, which occurred on or between
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February 9, 2015, and March 9,2015, in violation of the criminal law of Georgia, namely,

Arlicle   194   par.i of the Criminal code of Georgia 2000. A copy ofthe applicable law is included

as Attachment     A to this application. Under the Treaty, the United States is obligated to render

assistance in response to the Request.

          2.      According to authorities in Georgia, Georgian authorities noticed that between

February 9, 2015, and March9,2015, numetous transfers of funds were being made fiom a

Georgian company, "I Love My Patriarch," to various U.S. bank accounts. Georgian authorities

believe that "I Love My Patriarch" is a fictitious company, only being used to conceal illegal

funds.

          3.      To further the investigation, authorities in Georgia have asked U.S. authorities to

provide bank records from Bank of America pertaining to N(N)LE "I love my patriarch".

                                       LEGAL BACKGROLIND

                                              The Treaty

          4.      A treaty constitutes the law ofthe land. U.S. Const.    ar1.   VI, c1.2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. Citv of Seattle. 265 U.S. 332 ,341 (1924); United States v. The Pesqy, 5 U.S. 103 (1801);

United Stares v. Emues.bunam. 2b8 F.ld 377. 389 {6rh Cir. 2001       t.   The provisions of a treaty

should be construed liberally   "to give effect to the purpose which animates       it."   United States v.

Stuart,489 U.S. 353 (368) (1989) (intemal quotation marks omitted). To the extent that the

provisions ofa treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Z            v. Miller 389 U.S. 429,440-41 (1968).

          5.      The United States and Georgia entered into the Treaty to promote more effective

cooperation and assistance between the parties in criminal matters. It is designed to "facilitate

                                                       2
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international cooperation and technical assistance to prevent and combat comrption and to

recover assets". See United Nations Convention against Comrption, December 9, 2003, GA res.

58/4, UN Doc. A1581422 (2003), S. Treaty Doc. No. 109-6,43 I.L.M. 37 (2004). The Treaty

obligates each party, upon request, to provide assistance to the other in criminal investigations,

prosecutions, and related proceedings, including assistance in serving documents, obtaining

testimony, statements, and records, and executing searches and seizures. In addition, the Treaty,

Iike I 8 U.S.C. $ 3512, authorizes federal courts to use compulsory measures to further the

execution of such requests.

                                         l8 u.s.c. I3s12

       6.      When executing a treaty or non-treaty request for assistance from a foreign

authority, an attomey for the govemment may file an application to obtain any requisite court

orders under 18 U.S.C. $ 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

       Upon application, duly authorized by an appropriate official of the Department of
       Justice, of an Attomey for the Govemment, a Federal judge may issue such orders
       as may be necessary to execute a request from a foreign authority for assistance in
       the investigation or prosecution of criminal offenses, or in proceedings related to
       the prosecution of criminal offenses, including proceedings regarding forfeiture,
       sentencing, and restitution.

                                                                     *


       [A]n application for execution ofa request from a foreign authority under this
       section may be filed . . . in the district in which a person who may be required to
       appear resides or is located or in which the documents or things to be produced
       are located.




       The term "foreign authority" means a foreignjudicial authority, a foreig'n
       authority responsible for the investigation or prosecution of crimlnal offenses or
       for proceedings related to the prosecution of criminal offenses, or an authority
       designated as a competent authority or central authority for the purpose of making
                                                     3
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           requests lor assistance pursuant to an agreement or treaty with the United States
           regarding assistance in criminal matters.

    l8 u.s.c.   $   3sl2(a)(1), (cX:), (hXz).

           7.         Congress enacted this section to make   it "easier for the United   States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme." 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. I 1 I -79, 123 Stat.

2086.' This section provides clear authority for the federal courts, upon application duty

authorized by an appropriate official ofthe Department ofJustice, to issue orders which are

necessary to execute a foreign request.

           8.         An application is duly authorized by an appropriate official ofthe Department of

Justice when the Office of lntemational Affairs, which serves as the "Central Authority" for the

United States, has reviewed and authorized the request, and executes the request itselfor

delegates execution to another attomey for the govemment.2 Upon such a duly authorized

application, Section 3512 authorizes a federal judges to issue "such orders as may be necessary


 I Prior to the enactment
                          of l8 U.S.C. $ 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. $ 1782 (the "commissioner" process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (lst Cir. 2012) (18 U.S.C. $
35 I 2 provides a more streamlined process than 28 U.S.C. $ 1782, the statute under which foreign requests
uere prcviously cxccuted); 599 {5p tel C         v. Advanced Micro Devices lnc. s42 U .5. 24 | , 24'7 49
(2004) (describing history ofSection 1782). When enacting Section 3512, Congress anticipated thar
improved U.S. handling offoreign requests would ensure reciprocity in response to U.S. requests for
assistance in its criminal investigations. See, e&, 155 Cong. Rec. 10,093 (2009) (statement ofRep.
Schiff).

2
 The Attomey General, through regulations and Department ofJustice directives, delegated to the Office
of Intemational Affairs the authority to serve as the "Central Authority" under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. !9928C.F.R.0.64-l,0.644,andAppendixtoSubpartK,DirectiveNos.8lAand8lB.

3
    The term "federaljudge" includes a magistrate judge. See l8 U.S.C. $ 3512(hX1) and Fed. R. Crim. P
I   (bX3)(B) (including a magistrate judge in the definition of federal judge).
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to execute [the] request," including:               (l)   search warrants under Fed. R. Crim.   P.al1,Q) orders for

electronic records under l8 U.S.C. $ 2703; (3) orders for pen registers or trap and trace devices

under 18 U.S.C. $ 3123; and (4) orders appointing a pe$on to direct the taking of testimony or

statements and-ior the production ofdocuments or other things. See                  l8 U.S.C. $ 3512(a)(l)-

(b)(   I   ).   In addition, a federal judge may prescribe any necessary procedures to facilitate the

execution of the request, including any procedures requested by the foreign authority to facilitate

its use ofthe evidence. See In re Letter of R                  uest from the Crown Prosecution Service       ofthe

United Kingdo                 870 F.2d 686, 693 (D.C. Cir. 1989) (court has discretion in prescribing

procedures to be followed in executing foreign request under 28 U.S.C. $ 1782); cf. White v.

National Football Leaeue , 4l              F   .3d 402,409 (Sth Cir. 1994) (courl may issue process necessary

to facilitate disposition of matter before it); Fed. R. Crim. P. 57(b).

                9.         Section 35 l2 also authorizes any person appointed to direct the taking      of

testimony or statements and/or the production ofdocuments or other things                  to: (1) issue an order

requiring a person to appear and/or produce documents or other things; (2) administer any

necessary oaths; (3) take testimony or statements; and (4) take receipt ofdocuments or other

things. I 8 U.S.C.            $   3512(bX2). In ordering     a person to appear and/or produce documents      or

other things, the person appointed, commonly referred to as the "commissioner," typically uses a

subpoena entitled "Commissioner Subpoena." Any such subpoena or any other order, subject to

subsection (d), may be served or executed anyvhere in the United States. 18 U.S.C. $ 3512(0

A copy of            a   "Commissioncr Subpoena" is included        as Attachment B.


                                                   REOUE ST FOR ORDER

                10.        As evidenced by a letter dated September 7, 2018, fiom the Office       of
International Afflairs to the Office of the United States Attomey for the District of Delaware, the

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Office of Intemational Affairs has reviewed and authorized the Request and has delegated

execution to the U.S. Attorney's Office for the District of Delaware. Consequently, this

application for an Order appointing the undersigned Assistant U.S. Attomey as a commissioner

to collect evidence from witnesses and to take such other action as is necessary to execute the

Request has been "du1y authorized" within the meaning of Section 35 12. In addition, the

Request was submitted by an appropriate "foreign authority," i.e., the Office of the Chief

Prosecutor at the Ministry of Georgia, the designated Central Authority of Georgia or requests

made pursuant to the Treaty, and seeks assistance in the investigation        ofa criminal offense of

money laundering in Georgia. Furthermore, the requested Order is necessary to execute the

Request, and the assistance requested, i.e., the production ofbank records, falls squarely within

that contemplated by both the Treaty and Section 35       I   2. Finally, the documents or things to be

produced are located in the District of Delaware. Accordingly, this application was properly

filed in this district.

         I   l.   Both Section 3512 and the Treaty authorize the use ofcompulsory process in the

execution oftreaty requests comparable or similar to that used in domestic criminal

investigations or prosecutions. Because subpoenas utilized in U.S. criminal proceedings (i.e.,

grandjury and criminal trial subpoenas) are issued without notice to any person other than the

recipient (i.e., no notice to targets or defendants), orders and commissioner subpoenas issued in

execution ofa treaty request pursuant to Section 3512 and the applicable treaty likewise should

require no notice other than to the recipients. This is true even if the Requesting State, as here,

seeks financial records, because the Right to Financial Privacy        Act, l2 U.S.C. $$ 3401 et seq.,

including its notice provisions, does not apply to the execution of foreign requests for legal

assistance. Young v. U.S. Dept. of Justice,882F.2d633,639 (2d Cir. 1989), cert. denied,493

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U.S. 1072 (1990); In re Letters ofReouest from the Supreme Court ofHons Kone, 821 F. Supp.

204,211 (S.D.N.Y. 1993); In re Letter of Request for Judicial Assistance from the Tribunal Civil

de Port-Au-Prince. Republic of   Haiti,669 F. Supp. 403,407 (S.D. Fla. 1987). Accordingly, this

Court should authorize a commissioner to collect the evidence requested without notice to any

person other than the recipient(s) ofthe commissioner subpoena(s).

       12.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. $ 3512, appointing the undersigred attorney, Jennifer K.

Welsh, Assistant United States Attorney, Office of the U.S. Attomey (or a substitute or successor

subsequently designated by the Office   of   the U.S. Attomey) as a commissioner and authorizing

the undersigned to take the actions necessary, including the issuance    ofa commissioner

subpoena(s), to obtain the evidence requested in a form consistent with the intended use thereof.




                                               Respectfully submitted,

                                               DAVID C. WEISS
                                               UNITED STATES ATTORNEY


                                      By:
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